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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
EXELON GENERATION COMPANY, LLC,                                        :
                                                                       :
                                    Plaintiff,                         :     20 Civ. 9625 (JPC)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
EAST COAST POWER AND GAS, LLC,                                         :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        A hearing on Plaintiff’s motion for default judgment, Dkts. 52-55, is scheduled for March

1, 2022, at 11:00 a.m., Dkt. 64. On February 25, 2022, Plaintiff filed supplemental briefing on

calculation of revised damages and prejudgment interest as well as revised updated statement of

damages. Dkts. 68-69. It is hereby ORDERED that, by February 28, 2022, Plaintiff shall file:

    •   Supplemental briefing setting forth the methodology and calculations for the “April
        Settlement – Pre-Suspension” amounts;

    •   An updated attorneys’ fees invoices in connection with Plaintiff’s updated request for
        attorneys’ fees in the amount of $55,802.60;

    •   An updated calculation of Plaintiff’s request for prejudgment interest pursuant to N.Y.
        CPLR §§ 5001 and 5004 from May 6, 2022 through February 28, 2022, as well as an
        updated statement of damages reflecting such calculation; and

    •   An updated proposed judgment.

        SO ORDERED.

Dated: February 28, 2022                                   __________________________________
       New York, New York                                            JOHN P. CRONAN
                                                                 United States District Judge
